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AMERICAN ARBITRATION ASSOCIATION

Ann McLaurin, Lynne Fitzgerald,
Claimants,

Vv. Case No. 01-18-0001-1064

Respondent Terminix International Co., L.P., Arbitrator Eugenia Benedict
Respondent t Terminix International, Inc.,

Ken Stroh,

Respondents.

ARBITRATOR’S DECISIONS ON MOTIONS TO EXCLUDE
DOCUMENTS AND TESTIMONY

During the trial of this case, Respondent Terminix’s counsel made numerous
objections to Claimants’ counsel or co-counsel offering or attempting to offer any
evidence of previous cases against their client. Most, if not all, of those objections
were sustained at trial. Any other such objections made thereafter are granted
herein, and no such verbiage, whether in the form of documents or testimony about
previous cases, has been considered. Any mention of the testimony of witnesses
who appeared in previous cases and not in the instant one is stricken and any
attorney who included such in any post hearing document is warned not to repeat
such an error in the future.

AWARD

I, Hon. Eugenia M. Benedict, THE UNDERSIGNED ARBITRATOR, having been
designated in accordance with the arbitration agreement entered into between the
above-named parties, and having been duly sworn, and having duly heard the
proofs and allegations of the Parties, each represented by counsel, at an evidentiary
hearing held on January 22, 2019, through January 25, 2019, do hereby AWARD,

as follows:
FINDINGS OF FACT

Ann McLaurin and Lynne Fitzgerald, hereinafter referred to as Claimants, are
retired educators in their seventies. They bought a house located at 204 Grant,
Dauphin Isiand, Alabama, in 2012, for Two hundred thirteen thousand dollars
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($213,000.00). The previous owner, David Dortch, got a contract with Respondent
Terminix for termite prevention on the house in 2011 at a cost of Nine hundred
dollars ($ 900.00). The contract was in effect at the time of the sale to the
Claimants and was transferred to the new owners soon thereafter.

Before Respondent Terminix enters into a termite protection agreement with a new
customer, it promises, in its contract, to do an inspection of the property to
ascertain if there are termites present or, even if not, to look for any old damage.
After the inspection, Respondent Terminix’s employee is to fill out a graph with a
diagram of the structure showing what procedures will be performed and where
they will be done. Also, there is to be a worksheet showing the calculations of
which chemicals will be used and what the quantities will be.

Respondent Terminix’s standard contract, including the one with Claimants herein,
states that it will perform annual inspections of the customer’s structure and either
treat and “repair” any damage it discovers or, if the damage is too extensive to
repair, that it will “replace” it.

These three documents, the contract with the customer, the diagram of the building
showing the procedures planned and the chemical worksheet are to be kept in the
customer’s file at Respondent Terminix’s branch office throughout the term of the
contract and for one year thereafter. Retention of these documents is required by
the Alabama Department of Agriculture and Industry (hereinafter called the
ADAI), the state agency governing the Pest Control industry in Alabama.

Termite prevention treatment is considerably different for a pilings house such as
Claimants’ than for a house located inland. A house inland generally requires an
extensive Post Construction treatment that does not apply in this case. The initial
treatment for a house built on pilings is the more limited EP/LI, or Exterior
Perimeter/Limited Interior. The requirements are listed on the label of the
termiticide and must be followed without deviation. The termite protection plan
procedures for a pilings house include at least the following:

trenching around the back of the structure (not all the way around it) no
closer than six inches (6”) from the edge of the building and drenching the ground
in the trench with the proper amount of chemicals;

drilling four (4) holes in the concrete slab around the base of each piling and
applying the correct amount of chemicals but with the caution of NOT drilling so
deeply as to reach the water table only a short distance below;
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if a piling is embedded in a wall or other enclosure, drilling should be done
into the piling, if possible, or through the exterior of the encasement if not;

inspecting any places where wood may be in contact with the soil, installing
four inch (4”) barriers of concrete between the wood and the soil:

inspecting the concrete slab sufficiently to discover any cracks and treating
such an area with an appropriate amount of chemicals, and

inspecting the concrete slab sufficiently to discover any seams which would
create “cold joints” indicating that areas of the slab had been poured at different
times, drilling along the seam and treating the area with an appropriate amount of
chemicals.

There were no documents presented at trial that showed that an initial treatment
had been done on the property in 2011. The documents pertaining to any initial
treatment, which Respondent Terminix is required by state regulations to maintain,
were either not available or were blank, i.e. missing the crucial information of
planned procedures or calculations of amounts of chemicals to be used.

There were no documents presented at trial that showed that an initial treatment
had been done on the property in 2012, 2013, 2014 or 2015, either. Robert Steele,
the Respondent Terminix’s Mobile service manager of termite claims, testified that
Respondent Terminix had previously maintained customer files as a system of
paper documents but in recent years the company stored the same information in
an electronic form. He stated that when a contract is sold to a new customer that
the previously identified documents as well as an assignment sheet noting when
and by whom the initial treatment would be done was kept in the company files.
When Claimants’ co-counsel, Brandon Falls, asked him “So if the information
went in about a sale has been completed and treatment is required, that record,
whether the treatment was ever done or not, would still exist?”, Mr. Steele
answered, “If it was performed, yes, sir”. Mr. Steele testified that he had looked for
the documents related to the initial termite protection treatment and had been
unable to find them. Transcript, p. 678.

Dauphin Island is a barrier island in the Gulf of Mexico and the house was built on
a prime lot close to the water. Claimants chose this particular house because they
are “birders”. Birders are people intensely interested in many varieties of birds,
their semi-annual migration routes and learning with and from other birders. The
location of the Claimants’ house is in the actual migration path of many birds and
has become a gathering place for the Claimants and many new friends until they
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had to vacate it in July, 2017. The loss of community and social interaction has
been significant for both women.

Their house is what is known as a pilings house because the main living space is
elevated on the pilings and constructed above a concrete slab area below. There are
twenty (20) pilings which are actually the house’s foundation, not concrete
footings, as in a structure built inland. Several of the pilings are enclosed where
there are rooms on the ground floor. These rooms include a storeroom, a workroom
and a one-half (1/2) bath. The pilings are sunk into the sandy ground at least to a
depth equal to the length which protrudes above ground. Such a construction
allows water to flow unimpeded across the concrete slab when a storm occurs or
when the tide is unusually high.

Claimants’ house has a wraparound elevated deck with supporting wooden posts
and a wooden handicap ramp. There are no concrete barriers between any of the
wooden portions where they are in contact with the ground.

Claimants’ house is surrounded by a four (4) foot chain link fence and neither of
the Claimants has lived in the house full-time. Claimant Lynne Fitzgerald testified
that their Pest Control inspector (whose work was for the elimination of pests other
than termites) and who is also an employee of Respondent Terminix, regularly
called her to schedule his quarterly appointments. No evidence was presented at
trial that Respondent Terminix’s termite inspector had ever made appointments for
the required annual inspection with either of the Claimants.

Live termites, mud tunnels and significant damage were found in Claimants’ home
in December of 2016 not by a termite inspector but by Claimants’ pest control
operator, Will Robinson. He contacted Respondent Terminix who sent out Tim
James on December 23, 2016. The spot treatment he did apparently killed any live
termites. He also drilled some holes in the concrete slab and may have treated part
of the foundation (the pilings) with termiticide. There was no evidence or record
of trenching and drenching at the back of the house where the structure is in
contact with the soil. There were also no concrete barriers where the wooden
supports for the deck and handicap ramp touched the ground. The spot treatment
served as an emergency measure for eliminating the live activity but did not
comply with those of the apparently skipped initial treatment. No full treatment of
the required procedures was performed thereafter, either, but Mr. James did a
follow-up in May of 2017.
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After the December, 2016, spot treatment, Respondent Terminix sent a contractor,
Randal Cowart, with R & J Construction, to begin inspection to determine the
extent of the damage. Mr. Cowart brought no tools for sounding or probing. He did
not examine the attic, remove any sections of wall from the enclosed portion of the
house or ceiling on the ground level where the concrete slab is. He did not mention
whether he examined the slab to determine if there were cracks or cold joints in the
concrete. His inspection was primarily visual.

Mr. Cowart estimated that the repair could be accomplished for about Twenty-five
thousand dollars ($ 25,000.00). Respondent Terminix approved that amount and a
repair permit was obtained for that sum.

In early May, 2017, some five (5) months after live termites had been discovered,
Mr. Cowart and his crew began making isolated repairs of approximately eighteen
to twenty-four inch (18” x 24”) portions. There repairs were being made where a
small section of the wall had been removed and very extensive termite damage had
been found. He did not have authority from Respondent Terminix to open up or
remove large sections of wall to determine where the damage might end in an area.
Mr. Cowart hired Holon Engineering and Construction Company which advised
removing interior walls to determine the extent of damage but Respondent
Terminix did not take their advice.

During this early stage of repair when Mr. Cowart’s crew was beginning work on
Claimants’ house, his assistant, Manzo, last name unrecorded, found the following:

there were too few drill holes in the slab around the pilings to have met the
minimum requirements of an initial EP/LI treatment;

termite mud was visible in some of the pilings;

portions of the pilings had damage near their base in the concrete slab;

the plywood forming the ceiling above the slab had termite mud on it,
indicating that termites had traveled at least that far and that the plywood would
obscure any suspected damage to the joists under it;

a washroom on the ground floor had significant termite damage in the walls;

a bedroom in the elevated portion of the house had significant termite
damage in the wooden structure above the window, in the walls and throughout the
floor which felt “soft” when walked on;

a bathroom adjacent to the affected bedroom had a “soft”, non-stable floor;

the header above the sliding glass door onto the deck was riddled with
termite damage;

there was no barrier material between where wood touched soil at the base
of the deck supports or where the ramp began, and

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a cold joint was found in the slab but no drill holes were seen along it.

Mr. Cowart, upon learning of the more extensive amount of repair required, sought
approval from Respondent Terminix which authorized additional amounts of
approximately Forty thousand dollars ($40,000.00) for a total of about Sixty-five
thousand dollars ($65,000.00).

Corey Moore, the Dauphin Island Building Inspector, visited the Claimants’
property and inspected it while R & J Construction’s crew was present in May,
2017. Mr. Moore found unacceptable repairs were being done such as portions of
damaged wood and original foam insulation had been left in place and repairs
installed around or on top of them. The work did not meet the present building
Code for Dauphin Island. He found a previously installed wooden diagonal
reinforcement that had been eaten away by termites in the ground level wall. He
inspected the areas which Manzo had seen, described above, and advised that walls
would have to be exposed and the plywood ceiling would have to be removed to
determine the extent of damage. He concluded, based on what was visible, that the
house was damaged to more than fifty percent (50%) of its value and would have
to be taken down. He testified that he called Mr. Cowart and said, “I suspect that
what happened here is a result of errors and omissions from Terminix...and by
FEMA (Federal Emergency Management Agency) standards you will have to tear
down this house”. Transcript, p. 1120.

He also advised that a more stringent Code would be in effect by the time the
present house was removed and that any house rebuilt thereafter would have to
meet the requirements of the new Code.

Lynne Fitzgerald was present for at least portions of the repair work and voiced her
displeasure with the workmanship and the pace of the project. When she asked
Manzi to show her a copy of the scope (of repair), he said “...they have never
given me a copy of the scope”. Transcript, p, 1114. When Tom Campbell asked
her how that had affected her, she answered, “I was fit to be tied, and I started
making calls to Robert (Steele) and Randy (Cowart). She continued, “I just felt the
job was not a quality workmanship...they never would have done an extension, or
whatever you call it, had I not just stood there and said it’s not acceptable. I want a
meeting”. Transcript, p. 1115. Randy’s son and business partner, Josh Cowart,
began removing the plywood ceiling above the slab and pulled out the insulation.
When he saw the joists so damaged that they were sagging, he said “...all of the
joists (are) going to have to be replaced, that they needed to replace all the walls up
to a non-damaged area and then...y’all are going to have to move out of your

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house “. Transcript, p. 1116. Lynne Fitzgerald said she “...was stunned”.
Transcript, p. 1116.

Lynne Fitzgerald conferred with an architect, William Phillips, and asked him if he
would rebuild the house. He said “...the percentage of it is over 50 percent, and I
wouldn’t rebuild it for me”. Transcript, 570.

Respondent Terminix did not inform Claimants that the initial treatment had never
been done, that annual inspections were not performed, that the “spot treatment”
completed in 2016 was not compliant with their contract, or that sub-standard
repairs were being done from 2016 until all repairs ceased.

Ms. Fitzgerald, who lived in the house more than did Claimant Ann McDonald,
had to vacate her home in July, 2017 and move into a travel trailer that she and Ms.
McDonald own. At the time of trial in late January, 2019, Ms. Fitzgerald was
seventy-five years old and had been out of her home for a year and a half.

The Claimants’ retained the services of William Campbell who filed a complaint
for them with the ADAI and, later, filed suit in 2017.

Ms. Fitzgerald testified that during the period following discovery of the damage to
her house, that she had suffered three different episodes of heart malfunction
known as Atrial Fibrillation. She said she had been taken to a hospital by
ambulance where she remained for several days and was dependent on medications
for her condition thereafter. She reported having had difficult reactions to the
medications. She had the third episode in December, 2018, just weeks before the
trial of this case.

Robert Skolnik, the national manager of termite claims for Respondent Terminix,
visited the Claimants’ house after they had filed their claim with the ADAI but
before they filed suit. He had not read the Claimants’ file kept at Respondent
Terminix’s branch office or learned that no record therein showed that an initial
treatment was ever done. He did not inspect the graph to see what procedures were
to have been done initially or the chemical calculation worksheet which was blank.
He did not search Respondent Terminix’s own files to see if annual inspections had
been done or, if they had, if the inside of the house had ever been inspected. He
came without tools for probing or sounding to inspect what he had been told was a
badly damaged house and did not request that a repairman remove any portion of a
wall for examination. He did a walk-through inspection but did not offer to
“replace” the house. Shortly after Mr. Skolnick’s inspection, Respondent

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Terminix’s top officials, the CEO and CFO, authorized Ken Stroh to offer the
Claimants a cash settlement of Seventy-two thousand dollars ($72,000.00) as a
total settlement package, including a release of all liability and silence about their
experience, rather than agree to replace their home. The Claimants’ contract with
Respondent Terminix does not state an option for the company to offer a cash
settlement rather than replace the house if it is unrepairable. The letter offering the
cash settlement did not contain any suggestion of possible negotiation.

In arriving at a figure to offer the Claimants for their unrepairable house, Mr.
Skolnick testified that he had not:

consulted a property appraiser to determine the property’s market value both
before and after the termite damage;

consulted a contractor to determine the estimated cost of rebuilding and
doing so to the stricter Code about to go into effect:

had not learned the cost the Claimants had paid for the house or

looked beyond the Mobile County tax records to determine the actual market
value of the property.

The Claimants had paid Two hundred thousand thirteen dollars ($213,000.00) for
their prime waterfront lot and house in 2012 and had the structure insured for One
hundred forty thousand dollars ($140,000.00) but Mr. Skolnick never asked them
for that information.

The Claimants did not respond to the offer or to telephone messages from the
Respondent Terminix’s branch manager, Ken Stroh: they just filed suit.

Claimants allege that:

Respondent Terminix did not perform the required EP/LI initial termite
protection treatment in 2011 or at any time thereafter and did not inform them of
that fact;

Respondent Terminix did not perform the required annual termite
inspections both inside and outside the Claimants’ house in 2012-2016 and did not
inform them of that fact;

Respondent Terminix’s contract promised to “repair or replace” damaged
property when it did not intend to perform what was promised:

Respondent Terminix collected annual renewal fees for five (5) years while
defrauding the Claimants;

Respondent Terminix intentionally refused to determine the extent of
damage to Claimants’ house and made inadequate and ineffective repairs that
could not suffice to protect it in predictable storms;

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Respondent Terminix, through its national termite claims manager, Richard
Skolnick, willfully and intentionally refused to get an evaluation of the true pre-
damage market value of their house;

Respondent Terminix, through its national termite claims manager, Richard
Skolnick, who deals with resolving termite claims nationwide, knew or should
have known that a tax record does not indicate the actual market value of a house:

Respondent Terminix, through its national termite claims manager, Richard
Skolnick, willfully and intentionally refused to obtain even an estimate of the
actual cost that it would take to rebuild the Claimants’ home;

Respondent Terminix, through its national termite claims manager, Richard
Skolnick, and its senior officials, willfully and intentionally offered the two elderly
female Claimants an unreasonably small sum as a final settlement with no
intention for the amount to be sufficient for them to rebuild their home;

Respondent Terminix, through its national termite claims manager, Richard
Skolnick, left the task of rebuilding their home to Claimants when the parties’
contract had promised to “replace” an unrepairable structure;

By failing and then refusing to provide proper termite protection treatment,
as required by the parties’ contract, in an area known as a Formosan termite
hotbed, Respondent Terminix acted with willful and intentional malice resulting in
the foreseeable destruction of Claimants’ home;

By Respondent Terminix’s inactions as well as its malfeasance, Claimants
have suffered considerable foreseeable mental anguish, and

Respondent Terminix committed continuous intentional deception
amounting to Fraud and is, therefore, liable for all damages suffered by Claimants.

DISCUSSION
I

David Dortch, the previous owner of the house at issue in this case, did not have
termite protection but obtained it in 2011 as a requirement of selling the house to
the Claimants. He contracted with Respondent Terminix and the contract was
transferred to the Claimants after they bought the house in 2012. The contract
stated that the Respondent Terminix would make an inspection of the house, treat
it with procedures appropriate for its particular construction, do annual inspections
and retreat it if active termites were found, the initial barrier of treatment had been
disturbed or landscaping had compromised the barrier of protection. It stated
further that it would repair damage found under any of those conditions or replace
the structure if it could not be adequately repaired.
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Respondent Terminix did not have records showing that the initial inspection had
been done in 2011, that the initial termite protection treatment had been performed
in 2011 or at any other time before 2016, what procedures were to have been
performed or the amounts of chemicals to have been applied. All of those records
are required by the ADAI Regulations to be kept in Respondent Terminix’s
customer file for the Claimants throughout their contract period. The conclusion
can only be that no treatment was done from 2011 until a spot treatment of active
termites was done in 2016.

Claimants relied on the belief that Respondent Terminix would fulfill their
obligation to treat and protect their house and such reliance was to their detriment.
See Transcript p. 1089.

iL.

At all times relevant to this matter, Respondent Terminix knew it had not
performed the initial inspection or treatment for which it had contracted with Mr.
Dortch or thereafter with the Claimants. It knew that annual inspections of the
entire structure were not done over a five year period and it did not disclose any of
that information to the Claimants. See Transcript, p. 1092.

It knew that the location of the house was in a precarious area because of
Formosan activity and highly foreseeable damage if proper treatment and
maintenance thereof were not followed. In spite of such knowledge, Respondent
Terminix continuously failed and refused to supply the necessary treatments to
protect Claimant’s house from destruction.

III.

When termite damage was discovered in 2016, Respondent Terminix would not
initially authorize either the contractor or the engineer they hired to do the
necessary work to determine the extent of damage. Only smail areas of a wall were
removed, inspectors arrived at the house without tools to do a proper inspection
and what repair was undertaken was done in a manner that did not comply with the
current building Code for Dauphin Island.

IV.

There was no evidence or testimony presented at trial that Respondent Ken Stroh
had acted independently or beyond the scope of his employment as branch
manager of Respondent Terminix’s Mobile branch office

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CONCLUSIONS OF LAW

The Pest Control industry is strictly regulated for at least two reasons. One is
because the chemicals used are so dangerous and the other is that the general
public knows virtually nothing about the chemicals used or what the results might
be if mishandled. The public must be able to rely, through trust, on the superior
knowledge of the professionals trained for work in the industry. The label for the
termiticide provides exact instructions on how the chemical is to be used and no
variation is permitted for the professional using it. The directions are not advisory;
violation of them is a Misdemeanor in Alabama.

Federal laws require pest control companies to follow the label instructions of the
poisonous chemicals they use. 7 U.S.C.A. Section 136 et seq.

The Alabama Legislature established the ADAI in the 1930’s to make and adopt
Regulations “...to carry out the intent and purpose of this chapter and to regulate
persons engaged in professional services (of providing pest control) or work
defined in this chapter to prevent fraudulent and unauthorized practices of those
professional services or work...”. Section 2-28-3, Code of Ala. (1975). These
Regulations mandate the types of treatments companies can sell and what specific
treatment mechanics must be performed. ALA. ADMIN. CODE 80-10-9.01 et seq.
(2009). Also, the department has broad authority to sanction, fine and even
suspend the licenses of an operator who fails to comply with the Regulations. Code
of Ala. Section 2-28-3, (1975) requires termite companies and licensed employees
under whom they operate to post a bond to assure a high quality of workmanship.

Since the service provided to the Claimants is regulated by the state, contracts
Respondent Terminix issues for termite protection incorporate the minimum
standards provided by the laws as matter of contract construction. Watson v. Water
Works Bd. of the City of Birmingham, 480 So.2d 1190, 1193 (Ala. 1985).

Also, Respondent Terminix has a common law duty to disclose to its customers all
material facts known to it but not to the customer which might be detrimental to
the latter. Respondent Terminix did not disclose their failure to treat and the
Claimants were deceived about the validity of the service that had been sold to
them, relied on Respondent Terminix’s assertion that they were protected and were
harmed.

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I.

Fraud is defined in the Code of Alabama, Section 6-5-101 et seq. (1975) as
follows:

“.,.misrepresentation of material fact made willfully to deceive, or recklessly
without knowledge, and acted on by the opposite party, or if made by mistake and
innocently and acted on by the opposite party, constitutes legal fraud”. The
evidence and testimony developed at trial clearly showed that Respondent
Terminix knew it had not provided the services in its contract with the Claimants
and each renewal period thereafter when the promised were renewed.

Code of Alabama, Section 6-5-102 (1975) states that “.. Suppression of a material
fact which the party is under an obligation to communicate constitutes fraud”.

Fraud consists of some deceitful practice or willful device, resorted to with intent
to deprive another of his right, or in some manner to do him an injury. See 23 Am.
Jur., Fraud and Deceit, Section 20, p. 773; 37 C.J.S., Fraud, Section 19, p. 254 and
(c) Section 21, p. “In the sense of a court of equity, (Fraud) properly includes all
acts, omissions, and concealments which involve a breach of legal or equitable
duty, trust, or confidence justly reposed, and are injurious to another, or by which
an undue and unconscientious advantage is taken of another. 1 Story, Eq. Jur.
§187; Howard v. West Jersey & S.S.R. Co., 102 N.J. Eq. 517, 141 A. 755, 757; in
accord, Black's Law Dictionary, 2nd ed., p. 789,

Respondent Terminix had an obligation to keep the Claimants informed of all
material facts about their termite prevention services at their home but chose not to
do so. The obligation arises under the terms of their contract, state law and at
common law. Lucas v. Hodges, 589 So.2d 154, 158 (Ala. 1991).

From Respondent Terminix’s own records, the fact that documents were missing
although required to be maintained by Alabama law, and testimony at trial, it is
obvious that Respondent Terminix failed to perform consistently with the parties’
contract, did not inform the Claimants of their failure and did not adequately and
honestly correct the damage caused by their failure. Their conduct was fraudulent
and they are, therefore, responsible for damages to the Claimants.

Til.

The Termidor label allows for spot treatments to be made under certain
circumstances IF a thorough initial treatment had been done before. However, in
this case, Terminix performed only spot treatments at the Claimants’ home yet not

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only had not done the required EP/LI treatment at first but, in fact, NEVER did it.
Such is a direct violation of the label requirements and the State ADAI
Regulations. The fact that an insufficient “spot treatment” method was used after
no initial treatment was performed leads to the conclusion that Respondent
Terminix was cheating its customers. It is obvious that Respondent Terminix was
the party with superior knowledge here, knew damage was occurring and that the
Claimants home was being destroyed but did not take corrective action proves
more than Negligence; it is callousness to a malicious degree.

In this case, Respondent Terminix has ignored the Regulations governing its
business, the laws of Alabama, and the terms and spirit of its contract with the
Claimants. Therefore, Respondent Terminix is solely responsible for the full
damage suffered by the Claimants.

IV.

Respondent Terminix is one of the largest pest control companies in the world. It
knows what its responsibilities are to its industry, the states and countries in which
it does business and, most importantly, to its customers.

A company commits Promissory Fraud when it knows or should know what is
required of it to perform legally in a state yet knowingly fails to do so and has no
intention of performing the treatment required by the State’s Regulations. In this
case, Respondent Terminex’s inaction of required behavior in a strictly regulated
industry is equivalent to scienter sufficient to support the Claimants’ allegation of
Fraud.

Furthermore, in a coastal area such as Dauphin Island, AL, the site of the property
in issue, the company knew that Formosan termite activity was widespread and
very destructive especially if proper precautionary treatments were not taken. The
company promised a treatment which it did not provide and, apparently, had no
intention of providing or they would not have done merely a “spot treatment”.
When fraud is the chosen direction of a company’s “service” to its trusting
customers and it tries to limit its responsibility for the damage it causes, it is
reprehensible. Respondent Terminix’s intention and actions here were to undertreat
what their contract offered and withhold that information from the Claimants. Such
fraud makes Respondent Terminix liable for all damages in this case.

V.

As there was no evidence that Respondent Ken Stroh acted independently outside

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his scope of employment with Respondent Terminix, any and all claims against
him personally are hereby dismissed.

DAMAGES
Claimants’ home

The retirement home of Claimants, both single women in their seventies, has been
destroyed by termites. Why did this happen? The evidence is clear that although
they had a contract with Respondent Terminix to protect their home from termites,
known to flourish in their area, Respondent Terminix negligently, willfully and
wantonly failed and then continuously refused to perform the Alabama Defined
Termite Protection Plan their contract promised. Since the contract had been
purchased by David Dortch shortly before he sold the house to Claimants, perhaps,
at first, there was simply a mishap and oversight in Respondent Terminix’s failure
to treat immediately. However, there was no reasonable excuse offered for
Respondent Terminix to fail to provide the crucial treatment after the first annual
inspection in 2012. There was no evidence presented that an inspector came in
2012 or thereafter and inspected the interior of the house. If one had come and
inspected thoroughly, he would have seen that there were not the appropriate
number of drill holes around the pilings in the slab. He would have seen that a cold
joint in the slab had not been drilled and that wooden supports for the deck and for
the handicap ramp were touching the ground without the requisite concrete bases
to obstruct termite traffic.

It is important to note that the house has a four foot (4°) chain link fence
surrounding it but Lynne Fitzgerald, who was in residence much of the time and
always reachable by telephone, could and would have made entrance possible had
she been notified by the termite inspector. She had such an arrangement with Will
Robinson, the Claimants’ pest control inspector, who came quarterly and had no
trouble making contact with Ms. Fitzgerald. Mr. Robinson was also an employee
of Respondent Terminix.

According to Corey Moore, the Dauphin Island Building Inspector, and Chris
Annello, the Claimants’ construction expert witness, the costs of demolishing the
house and rebuilding it would probably be approximately $250,000.00.
Respondent Terminix will be responsible because of the “repair” or “replace”
portion of their contract with Claimants which they have violated.

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Cost of relocation

Because of Respondent Terminix’s bad faith, willful and wanton failure and then
refusal to protect Claimants’ home, it is so damaged that it has to be demolished.
Since July 7, 2017, they have not been able to live in it and have had to find
somewhere else to be. Ann McDonald has another house in Daphne, AL and both
ladies have been there some of the time. However, Lynne Fitzgerald has spent
most of her nights in the ladies’ travel van parked in state or local parks. That is
cramped and expensive for her and would not have been necessary but for
Respondent Terminix’s actions. The costs of the relocation of her “residence”, and
both Claimants’ furniture and all household goods, moving back into the house
when it is rebuilt and all associated costs thereof, will be charged to Respondent
Terminix.

Mental anguish

The mental anguish of these elderly ladies, through no fault of their own, and
undergoing all the stress of the damage done to them as well as to their home by
Respondent Terminix late in their lives, is hard to measure. All of the anguish not
only could have been prevented but should have been. Respondent Terminix
knows how to prevent termite damage to a home they contract to protect by
treating it according to the law and Regulations governing their profession. They
know how to inspect for possible damage and to treat it if it is found. They know
how to tell a customer the truth if they discover that a treatment has not been done
correctly and to rectify the oversight but they did not do any of that in this case.

Therefore, Respondent Terminix is responsible for the considerable mental anguish
which these ladies have undergone and will continue to suffer as they take on the
responsibility of building a new home, a task Respondent Terminix had promised
to shoulder if replacing their house became necessary.

Incidental/Consequential Damage

Under Bates v. General Steel Tank Co., 36 Ala.App. 261, 264, 55 So.2d 213,215
(Ala.App. 1951), it is obvious that Terminix is liable for all injuries and damage
foreseeable as a result of its negligent acts. However, in this case, the evidence is
overwhelming that Terminix was guilty of years of intentional fraud and, therefore,
“...there is ‘extended liability’ for intentional torts”. Phillips v. Smalley
Maintenance Services, Inc., 435 So.2d 705, 712 (Ala. 1983).

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Punitive Damages

In Alabama, punitive damages are warranted when a defendant “consciously or
deliberately engaged in oppression, fraud, wantonness or malice with regard to the
plaintiff’. Ala. Code Section 6-11-20(a) (1975). Respondent Terminix deserves
punitive damages for the following reasons:

1. Respondent Terminix’s failing or refusal to perform the required actions of
the initial treatment of the Claimants’ home;

2. its wanton failure and refusal to conduct appropriate annual inspections;

3. its refusal to retreat properly even when termite activity was found;

4, its bad faith refusal to determine the extent of damage that had to be
repaired;

5. its refusal to determine an accurate market value of the Claimants’ pre-
damaged property before making an offer of a cash settlement;

6. its offering a cash settlement rather than its obligation to “repair” or

“replace” without authority from the parties’ contract to do so, and
7. its hiding the truth from the Claimants for over five (5) years justifies the
imposition of punitive damages.

Attorney’s Fees

Although the United States borrowed our body of law, called the common law,
from England when this country was established, we did not adopt the English
method of handling attorney’s fees. Reynolds v. First Alabama Bank of
Montgomery, 471 So.2d 1238, 1241 (Ala. 1985). The “American Rule” is that
each party bears his own costs of representation but “...the rule is usually
expressed with exceptions encouched therein. One of the main exclusions is the
equitable exception”. Reynolds, at 1242. In Hall v. Cole, 412 U.S. 1, 93 S.Ct.
1943, 36 L.Ed. 2d 702 (1973), the Court explained in no uncertain terms that the
rule may be overridden if the equities justify it.

 

As stated in 6 J. Moore, Federal Practice, paragraph 54.77[2], p. 1709 (2d ed.
1972), a federal court may award counsel fees to a successful party when his
opponent has acted “in bad faith, vexatiously, wantonly or for oppressive reasons.
In this class of cases, the underlying reason of “fee shifting” is, of course, punitive
and the essential element in triggering an award of attorney’s fees is the existence
of “bad faith” on the part of the unsuccessful party. See also Mills v. Electric Auto-
Lite Co., 396 U.S. 375, 391-392 [90 S.Ct. 616, 625-626, 24 L. Ed.2d 593] (1970).

 

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“The power to award such fees (attorney’s fees) ‘is part of the original authority of
the chancellor to do equity in a particular situation’.” Sprague v. Ticonic National
Bank, 307 U.S. 161, 166 [59 S. Ct. 777, 780, 83 L.Ed. 1184] (1939). A similar
holding in Coupounas v. Morad, 380 So.2d 800, 803 (Ala. 1980) is that “...in
Alabama, a court of equity is authorized to mold its decree so as to adjust the
equities of the parties and meet the necessities of each situation”. “The obvious
conclusion is that Alabama recognizes exceptions to the American Rule where
fraud, willful negligence or malice has been practiced”, Reynolds, supra at 1243.

In this case where Respondent Terminix has been accused of committing multiple
acts of Fraud over a term of five (5) years, the home under contract has to be
demolished because of termite damage and the evidence supports the allegations,
an award of attorney’s fees is appropriate.

Whether Attorney’s Fees and Expenses are “Reasonable”

Factors to be considered as guides in determining the reasonableness of a fee
include the following: (1) the nature and value of the subject matter of the
employment; (2) the learning, skill and labor requisite to handling the matter; (3)
the time consumed; (4) the professional experience, reputation of the lawyer or
lawyers performing the services; (5) the weight of the attorneys’ responsibilities;
(6) the amount involved and the results obtained; (7) the reasonable expenses
incurred; (8) the likelihood that the acceptance of the particular employment will
preclude other employment by the lawyer; (9) the fee customarily charged in the
locality for similar legal services; (10) the time limitations imposed by the client or
by the circumstances; (11) the nature and length of the professional relationship
with the client; (12) whether the fee is fixed or contingent. Peebles v. Miley, 439
So. 2d 137 (Ala. 1983). See also Model Code of Professional Responsibility, DR 2-
106(B) (1982).

Although Respondent Terminix’s counsel contends that Peebles applies only to
common fund cases, that is not a requirement of the ABA’s Model Code of
Professional Responsibility, DR 2-106(B) (1982).

As regards factors One through Four, above:, Claimants’ chief counsel, Thomas
Campbell, has obviously prepared thoroughly to obtain considerable knowledge of
his specialty, termite pest control cases, over a period of many years. He is due to
be compensated to some degree but the time he and his practice have spent on this
particular case is not totally clear.

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Considering factors Five and Six, above: Mr. Campbell’s law practice is primarily,
if not exclusively, involved with Plaintiff's claims against the Pest Control
profession. As many of his cases are tried in Arbitration, the amounts he has won
for his clients are not public information. However, he cannot have continued
without recovering significant judgments for his clients. As he has a contingency
fee with the Claimants, his responsibilities are considerable since if he is not
successful for them, neither he nor they are compensated at all.

Considering factors Seven through Eleven: Determining whether an attorneys’
expenses are reasonable is complicated. In Mr. Campbell’s case, he has, by his
own declaration, built a vast amount of information from and/or about the pest
control defendants against whom he has tried cases over the span of his career.
Obviously, he does not need to start from scratch with discovery when he takes on
anew case. He also does not need to search for expert witnesses anew with each
case as he often uses the same persons for their expert opinions.

He employs six litigators and several support staff persons but not all are working
on any one case at the same time.. Therefore, it is crucial to determine from the
Expenses spreadsheet he submitted if all expenses are exclusively from this case. It
appears that the expenses are for or from this case but some are questionable, such
as expenses for experts, and some are not specific enough. The time constraints in
this case are a factor since at least Lynne Fitzgerald is out of her home and in frail
health. Mr. Campbell has represented these clients since the Fall of 2017 and the
trial was not held until January, 2019.

It makes sense for an attorney who takes a case on a contingent fee basis to charge
more than an attorney who is guaranteed compensation by periodic billings. Mr.
Campbell’s fee arrangement with the Claimants is a 45% contingent fee. During
his representation of the Claimants in this case, he has had no compensation for his
work or expenses in this matter. However, even with all the precarious factors
being considered, any fee must be reasonable in relation to the amount awarded.

The American Bar Association in its Model Code of Professional Responsibility,
DR 2-106(B) (1982), stated "a fee is clearly excessive when after review of the
facts, a lawyer of ordinary prudence would be left with a definite and firm
conviction that the fee is in excess of a reasonable fee." As the amount of the
recovery increases, the attorney's fee should be prudently reduced.

THEREFORE, all relevant factors having been considered, the arbitrator
makes the award shown below:

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Itemization of Damages

Incidental
Termite Services Paid
2012-2014 @ $225.00 annually $ 675.00
2015-2017 @ $241.00 annually $ 723.00
Compensatory
Demolition and Rebuilding house $ 275,000.00

(Amount increased over estimates because building
costs are likely to rise over time necessary for

reconstruction)
Investigation of damage (Architect) $ 600.00
Utilities (Unusable House)
Power $ 2,000.00
Water $ 880.00
Property Tax $ Unknown
Yard maintenance $65.00/mo. (20 mos.) $ 300.00
Campground lot rental (8 mos. 2017-2018) $ 3,434.00
Campground lot, if necessary, (2019-2020) $ 6,000.00
Robert Davis (Repairs on house, early 2017) $ 300.00
Automobile gas (after house condemned) $ 3,633.00
Auto wear/tear to meet with repairmen $ 6,000.00
Trash service for 3 mos. @ $125/mo. $ 375.00
Storage unit, two (2) yrs. @ $ 1,290/yr. $ 2,580.00
Re-landscaping after reconstruction $ 400.00
Incidental and Compensatory Damages Subtotal $ 302,900.00
Mental Anguish
Lynne Fitzgerald $ 900,000.00

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Ann McDonald $ 300,000.60
Grand Total Compensatory: $ 1,502,900.00
Punitive Damages: 3 730,000.06
TOTAL PAYABLE TO CLAIMANTS $ 2,252,900.00
Claimants’ Attorney Fees due from Respondent _ § 200,000.00
Claimants” Attorney Expenses due from Respondent  $ 15,000.60

 

TOTAL PAYABLE TO CLAIMANTS’ ATTORNEY
FROM RESPONDENT $s 315,000.00

The administrative fees of the American Arbitration Association (AAA) totaling
$2,400.00 and the expenses and compensation of the arbitrator totaling 310,000.00 shall
be bome as incurred.

All payments are due to be paid within thirty (30) days of the execution of this Order.

This Award is in full settlement of all claims submitted to this Arbitration. All claims not
expressly granted herein are hereby denied.

Be

So ordered this "day August, 2019.

 

 

Eugenia Benedict, Arbitrator
